                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF ILLINOIS


                                           )
MARK ARNOLD                                )
                                           )
Plaintiff,                                  )
                                           )
vs.                                        )
                                           )
CITY OF KENOSHA,                           )
WISCONSIN,                                 )
                                          )
KENOSHA POLICE OFFICERS                   )
                                          )
LORN ANSCHUTZ, # 491                      )
DUSTY NICHOLS, # 399                      )
THOMAS P. GROTH                           )
                                          )                   JURY TRIAL DEMANDED
                                          )



                                          COMPLAINT

        Now comes Plaintiffs (“Plaintiff”), MARK ARNOLD by and through his attorney,

Stephen L. Richards, and make the following complaint against Defendant CITY OF

KENOSHA (“Defendant City”) and KENOSHA POLICE OFFICERS LORN ANSCHUTZ,

DUSTY NICHOLS, and THOMAS P. GROTH, and states as follows:



                                  JURISDICTION and VENUE

             1. This action is brought pursuant to 42 U.S.C. § 1983 to redress the deprivation

                under color of law of Plaintiff’s rights as secured by the United States

                Constitution.

             2. This Court has jurisdiction of the action pursuant to 28 U.S.C. §§ 1331, 1343




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   and 1367.

3. Venue is proper under 28 U.S.C. § 1391(b). Defendants reside in this judicial

   district and the events giving rise to the claims asserted in this complaint

   occurred within this district.



                                    PARTIES

4. At all times relevant hereto, Plaintiff MARK ARNOLD was a 57 year old male

   resident of Kenosha, Wisconsin.

5. Defendant Officers were at all relevant times employed by the City of Kenosha

   and acting within the scope of their employment and under color of law.

6. Defendant City of Kenosha is a municipal corporation, duly incorporated under

   the laws of the State of Wisconsin, and is the employer and principal of the

   Defendant Officers.



                      FACTUAL ALLEGATIONS

7. In May of 2012, MARK ARNOLD’s wife, Angela Letona, moved out of his

   personal residence at 7623 28th Avenue, Kenosha, Wisconsin.

8. At that time she returned her key to the residence to MARK ARNOLD.

9. Angela Letona was not on the title to the residence at 7623 28th Avenue,

   Kenosha, Wisconsin and has never been on the title to that residence.

10. Between May of 2012 and July 20, 2012, Angela Letona did not reside at 7623

   28th Avenue, Kenosha, Wisconsin.




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11. On July 20, 2012, Angela Letona came to MARK ARNOLD’s residence and

   demanded that he give her a key to his residence.

12. He refused.

13. She then called the Kenosha police department.

14. Defendants ANSCHUTZ and NICHOLS arrived at Mark Arnold’s residence at

   7623 28th Avenue, Kenosha, Wisconsin during the evening hours of July 20,

   2012.

15. Defendant NICHOLS threatened to kick in the door to the residence if MARK

   ARNOLD did not allow Angela Letona to enter. He stated that since MARK

   ARNOLD had married Angela Letona six years earlier that “she can have

   anything of yours that she wants.”

16. MARK ARNOLD informed Officer Nichols that Angela Letona was not on the

   title to the residence, that she had moved out and returned the key, and that the

   division of property would be determined during divorce proceedings.

17. Defendant NICHOLS then stated that he would help Angela Letona break into

   MARK ARNOLD’s residence.

18. MARK ARNOLD replied that NICHOLS’s actions would break the law.

19. NICHOLS asked MARK ARNOLD if Angela Letona had any clothing

   remaining in her residence.

20. MARK ARNOLD replied: “Yes, and I will put all of her clothing on the front

   porch right now.”

21. MARK ARNOLD then entered the residence and began carrying armloads of

   Angela Letona’s shoes and clothing and placing them on the front porch.




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22. As MARK ARNOLD did so, Angela Letona cursed loudly as she brought the

   shoes and clothing to her car.

23. At the same time, NICHOLS and ANSCHUTZ cursed MARK ARNOLD, calling

   him a “fucking asshole,” and a “fucking dick.”

24. Without MARK ARNOLD’s consent, without a warrant, and without probable

   cause, NICHOLS and ANSCHUTZ then entered MARK ARNOLD’s residence at

   7623 28th Avenue, Kenosha, Wisconsin.

25. Although MARK ARNOLD did not resist this unlawful entry, NICHOLS

   physically forced entry to the residence using substantial upper body force and

   then placing his foot in the front entry to the residence.

26. MARK ARNOLD immediately withdrew into the living room and verbally

   objected   to the forced entry as officers NICHOLS and ANSCHUTZ and then

   Angela Letona     entered the living room.

27. Officer NICHOLS retorted "We're in and We're stayin' in.

28. Several minutes later Officer ANSCHUTZ stated "You Punched me. " MARK

   ARNOLD responded "I never touched you. " Officer ANSCHUTZ then stated

   "You hit me in the face." MARK ARNOLD responded "I never touched you" and

   then turned around.

29. At that time Officer NICHOLS used his fist and forearm to strike MARK

   ARNOLD from behind, knocking Mark to the ground head first. After

   ARNOLD’S head hit the floor with great force, Officer NICHOLS then stomped

   on ARNOLD’s left rib cage and left arm, using his left foot and Officer

   NICHOLS stood on ARNOLD’s left arm and rib cage as           he then stomped on




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   ARNOLD’s neck and right shoulder, causing ARNOLD’s          head to strike the

   hardwood floor two more times.

30. ANSCHUTZ forced the air out of ARNOLD’S lungs by standing on him and by

   standing on him and then placing his right knee between Arnold's shoulder

   blades and shifting all of his body weight on to Arnold's back forcing   the air

   out of Arnold's chest which caused Arnold's heart to go   into severe

   dysrhythmia.

31. ANSCHUTZ called for the use of a taser as ARNOLD was laying motionless on

   the floor.

32. As ARNOLD lay on the floor, Angela Letona told the defendant officers that

   MARK ARNOLD has a heart condition.

33. As defendant officer GROTH was about to draw his taser, he hesitated when

   Angela Letona repeated her statement that ARNOLD had a heart condition and

   that “you will kill him.”

34. NICHOLS stepped off ARNOLD’s rib cage, then off of his neck and shoulder and

   walked into the living room.

35. ANSHUTZ stood with his right foot beside ARNOLD as his left foot continued to

   grind ARNOLD’s left knee into the threshold of the front door.

36. GROTH then cuffed ARNOLD.

37. ANSCHUTZ then reached down and ripped the polo shirt off ARNOLD’s

   back, and then grabbed ARNOLD’s left arm further wrenching ARNOLD’s

   arm and shoulder as he pulled him up from the floor.




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38. ANSHUTZ and another officer dragged ARNOLD across his yard and the street

      and then dumped ARNOLD face down into the neighbor’s yard, placing

      additional stress on ARNOLD’s respiratory system.

39.     Officer GROTH called for a rescue squad due to ARNOLD's inability to breath

      and concern about potential heart failure. Kenosha Fire Rescue responded to the

      call and transported ARNOLD to the hospital. Officers GROTH, ANSCHUTZ

      and NICHOLS followed in KPD Cruisers and at the hospital GROTH stated that

      they had decided not to cite ARNOLD for felony assult on Anschutz but were

      instead issuing municipal citations for disturbance of the peace and obstruction

      of the police.

40. The two municipal citations were subsequently dismissed and MARK ARNOLD

      never pled guilty to either of these charges.

41. On July 21, 2012 when MARK ARNOLD attempted to lodge a complaint in

      regard to the actions of the Kenosha police officers in the July 20, 2012 incident;

      Kenosha Police Lieutenant Tom Hansche intentionally made an implied threat

      against MARK ARNOLD in an effort to insure that a complaint would not be

      brought against officers NICHOLS and ANSCHUTZ.

42. In November 2012 when MARK ARNOLD again tried to move forward with a

      complaint of continuing harassment and intimidation by Kenosha police officers,

      Kenosha police Captain Eric Larsen again deflected MARK ARNOLD's

      complaint of police misconduct by offering to send the issue back to Kenosha

      police Lt. Hansche for investigation rather than having a neutral individual

      handle the complaint. The harassment and intimidation of MARK ARNOLD by




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       Kenosha Police officers has been allowed to continue from November 2012 onto

       2015.




                      Count I – 42 U.S.C. § 1983 False Arrest

   43. Plaintiff MARK ARNOLD re-alleges paragraphs 1 through 42 as if fully

       repleaded herein.

   44. On July 20, 2012, MARK ARNOLD was stopped and seized without a warrant,

       without probable cause, and without reasonable suspicion. This seizure and arrest

       was in violation of the Plaintiff’s rights secured under the Fourth and Fourteenth

       Amendments of the Constitution of the United States.

   45. Defendant Officers unlawfully and maliciously arrested plaintiff and

       wrongfully detained him without any legal right to do so, in their

       official capacity as law enforcement officers, under color of state law, and

       acting within the scope of their employment.

   46. The acts committed by Defendant Officers were done maliciously, willfully

       and wantonly, intentionally, and with reasonable certainty that the acts were in

       violation of the plaintiff’s constitutional rights and would cause harm to the

       plaintiffs.



WHEREFORE, Plaintiff prays for judgment against Defendant officers in a fair




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and just amount sufficient to compensate them for the injuries they suffered, plus,

plaintiff seeks a substantial sum in punitive damages against the Defendants, costs and

reasonable attorney fees, and all such other relief as this Court finds just and equitable.



                      Count II – 42 U.S.C. § 1983 Excessive Force

   47. Plaintiffs re-allege paragraphs 1-46 as if fully re-pleaded herein.

   48. On July 20, 2012, MARK ARNOLD was assaulted by defendant officers, acting

       individually, and in concert, under color of law, using excessive force to injure

       MARK ARNOLD Plaintiffs' rights secured under the Fourth and Fourteenth

       Amendments of the Constitution of the United States.


   49. Defendant Officers unlawfully and maliciously assaulted plaintiff without any

       legal right to do so, in their official capacity as law enforcement officers, under

       color of state law, and acting within the scope of their employment.

   50. The acts committed by Defendant Officers were done maliciously, willfully

       and wantonly, intentionally, and with reasonable certainty that the acts were in

       violation of the plaintiff's constitutional rights and would cause harm to the

       plaintiff.



          WHEREFORE, Plaintiff prays for judgment against Defendant officers in a fair

       and just amount sufficient to compensate them for the injuries they suffered,

       plus, plaintiffs seek a substantial sum in punitive damages against the

       Defendants, costs and reasonable attorney fees, and all such other relief as this

       Court finds just and equitable.




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          Count III – 42 U.S.C. § 1983 Unlawful Search and Seizure

51. Plaintiffs re-allege paragraphs 1-50 as if fully re-pleaded herein.

52. On July 20, 2012, defendants unlawfully entered and searched MARK

   ARNOLD’s home in violation of nPlaintiffs' rights secured under the Fourth and

   Fourteenth Amendments of the Constitution of the United States.

53. Defendant Officers invaded plaintiff’s home without any legal right to do so, in

   their official capacity as law enforcement officers, under color of state law, and

   acting within the scope of their employment.

54. The acts committed by Defendant Officers were done maliciously, willfully

   and wantonly, intentionally, and with reasonable certainty that the acts were in

   violation of the plaintiff's constitutional rights and would cause harm to the

   plaintiff.



      WHEREFORE, Plaintiff prays for judgment against Defendant officers in a fair

   and just amount sufficient to compensate them for the injuries they suffered,

   plus, plaintiffs seek a substantial sum in punitive damages against the

   Defendants, costs and reasonable attorney fees, and all such other relief as this

   Court finds just and equitable.

   Count IV – Monell Claim Against Defendant City

55. The misconduct described in this Count was undertaken pursuant to the policy

   and practice of the Kenosha Police Department in that:

   a. As a matter of both policy and practice, the Kenosha Police Department




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    directly encourages the type of misconduct at issue here by failing to

    adequately train, supervise and control its officers, and its failure to do so

    constitutes deliberate indifference;

    b. As a matter of both policy and practice, the Kenosha Police Department

    facilitates the type of misconduct at issue here by failing to adequately

    punish and discipline prior instances of similar misconduct, thereby

    leading Kenosha Police Officers to believe their actions will never be

    scrutinized and, in that way, directly encourages future abuses such as

    those affecting Plaintiff; specifically, Kenosha Police Officers accused of

    misconduct are aware that the Kenosha Police Department will not

    fully investigate these accusations and will almost always refuse to

    recommend discipline even where the officer has engaged in wrongdoing;

    c. As a matter of widespread practice so prevalent as to comprise municipal

    policy, Officers of the Kenosha Police Department abuse citizens in a

    manner similar to that alleged by Plaintiff in this Count on a frequent

    basis, yet the Kenosha Police Department makes findings of wrongdoing

    in a disproportionately small number of cases;

    d. Municipal policy-makers are aware of, and condone and facilitate by their

    inaction, a “code of silence” in the Kenosha Police Department, by which

    Officers fail to report misconduct committed by other Officers, such as the

    misconduct at issue in this case;

    e. The City of Kenosha has failed to act to remedy the patterns of abuse

    described in the preceding sub-paragraphs, despite actual knowledge of




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                 the same, thereby causing the types of injuries alleged here.



WHEREFORE, Plaintiff prays for judgment against Defendants in a fair and just

amount sufficient to compensate them for the injuries he suffered, plus, plaintiff seeks

costs and reasonable attorney fees, and all such other relief as this Court finds just and

equitable.



Pendant State Law Claims

                 Count V –State Law Claim Against Defendant City

                         Respondeat Superior and Indemnification

              56. Plaintiffs re-allege paragraphs 1 through 55 as if fully re-pleaded herein.

              57. Wisconsin law provides that public entities, such as Defendant City, are directed

                 to pay any compensatory damages on a tort judgment against an employee

                 who was acting within the scope of his or her employment.

              58. At all relevant times, Defendant Officers were agents of Defendant City of

                 Kenosha and of the Kenosha Police Department acting within the scope of their

                 employment. Defendant City, therefore, is liable as principal for all torts

                 committed by its agents, Defendant Officers.

WHEREFORE, Plaintiff prays for judgment against Defendants in a fair and just

amount sufficient to compensate them for the injuries they suffered, plus, plaintiffs seek

costs and reasonable attorney fees, and all such other relief as this Court finds just and

equitable.




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                                 Count VI- Assault and Battery

       59. Plaintiff realleges and incorporates by reference 1-58 as if fully re-plead herein.

       60. Plaintiff timely filed and served a Notice of Injury and a Notice of Claim,

       pursuant to Wis. Stat. § 893.80, with the Defendant, City of Kenosha. That the Notice of

       Claim was served on the City of Kenosha on November 13, 2012.

       61. The defendants involved in the subject incident intended to inflict bodily contact

       and       to do physical harm to MARK ARNOLD and to put him in fear of imminent

       physical harm.

       62. The defendants used excessive force and caused offensive bodily contact and bodily

       harm to MARK ARNOLD in an angry, revengeful, rude, or insolent manner, and said

       defendants had an awareness that their conduct was practically certain to cause bodily

       harm to MARK ARNOLD.

       63. MARK ARNOLD did not consent to have bodily contact and harm done to him.

       64. the above-mentioned conduct of the defendants was a direct and proximate cause of

       the injuries and damages to MARK ARNOLD as set forth in this Complaint.

       65.     That the above-mentioned conduct of the defendants was also unlawful, extreme,

       malicious, outrageous and/or intentional.



WHEREFORE, Plaintiff prays for judgment against Defendants in a fair and just

amount sufficient to compensate them for the injuries he suffered, plus, plaintiff seeks

costs and reasonable attorney fees, and all such other relief as this Court finds just and

equitable.




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                           MARK ARNOLD

                           Plaintiff   /s/ Stephen L. Richards

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